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 1   ROBERT W. RAINWATER, CA. Bar No. 67212
     Rainwater Law Group
 2   Designated Counsel for Service
     1430 Willamette Street, Suite 492
 3   Eugene, Oregon 97401-4049
     Telephone: (541) 344-1785
 4
     Attorney for Defendant
 5   LARRY DONNELL JONES
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 7
                                   IN THE UNITED STATES DISTRICT COURT
 8
                                FOR THE EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,             )              NO. 1:07-cr-00272 LJO
12                                         )
                       Plaintiff,          )              STIPULATION PERMITTING DEFENDANT
13                                         )              TO TRAVEL TO ARKANSAS; AND ORDER
           v.                              )
14                                         )
     LARRY DONNELL JONES,                  )
15                                         )
                       Defendant.          )              Judge: Hon. Sandra M. Snyder
16                                         )
     _____________________________________ )
17
18          IT IS HEREBY STIPULATED by and between the parties, through their respective counsel, that
19   Larry Donnell Jones be permitted to travel to Arkansas from Anchorage, Alaska on June 30, 2009 and
20   return to Anchorage, Alaska, on July 6, 2009. Mr. Jones will be staying and visiting with family in
21   Arkansas for the 4th of July holiday. Mr. Jones is permitted to travel for personal reasons and vacation.
22   Pre-Trial Services does not object to the proposed travel. All other conditions of release are in full force
23   and effect.
24                                                 LAWRENCE G. BROWN
                                                   Acting United States Attorney
25
26   DATED: June 26, 2009                          By /s/ James Terzian
                                                   Assistant United States Attorney
27                                                 Attorney for Plaintiff
28
                Case 1:07-cr-00272-LJO Document 75 Filed 06/29/09 Page 2 of 2


 1   DATED: June 26, 2009
 2                                                /s/ Robert W. Rainwater
                                                  ROBERT W. RAINWATER
 3                                                Attorney for Defendant
                                                  LARRY DONNELL JONES
 4
 5                                                    ORDER
 6            Larry Donnell Jones is hereby permitted to travel from his residence in Anchorage, Alaska on June
 7   30, 2009, for travel to Arkansas, and to return to Anchorage, Alaska, on July 6, 2009. All other conditions
 8   of release are in full force and effect.
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12   IT IS SO ORDERED.
13   Dated:      June 29, 2009                         /s/ Sandra M. Snyder
     icido3                                     UNITED STATES MAGISTRATE JUDGE
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